              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
               CRIMINAL CASE NO. 3:07-cr-00211-MR-2


UNITED STATES OF AMERICA,        )
                                 )
         vs.                     )             ORDER
                                 )
                                 )
VICTORIA L. SPROUSE.             )
________________________________ )

     THIS MATTER is before the Court on the Defendant’s pro se “Motion

to Stay Deadlines for Filing Post-Verdict Motions” [Doc. 447].

     The Defendant asserts that she is currently unrepresented by

counsel, as her petition for writ of certiorari by the United States Supreme

Court was denied on December 2, 2013. She requests that “all post-verdict

motion deadlines be stayed and extended” for a period of thirty (30) days

from the appointment of CJA counsel. [Doc. 447].

      The docket reflects that the Defendant was represented by retained

counsel in the proceedings before this Court, and that counsel has not

withdrawn from such representation.      As such, the Court considers the

Defendant to still be represented, and thus, her pro se motion is denied.




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     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Motion

to Stay Deadlines for Filing Post-Verdict Motions [Doc. 447] is DENIED

WITHOUT PREJUDICE.

     The Clerk of Court is directed to provide copies of this Order to the

Defendant, Peter Anderson, William Terpening, and counsel for the

Government.

     IT IS SO ORDERED.             Signed: December 30, 2013




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